Co eH SID nH FP WY YO

NO wp BB LPO DH KN PO DN KN kB Pr eee
ao ny HD OO FBP WH NH &§ DOD CO fF DD OH BP WO YN KS CO

Case 2:19-cr-01199-SMB Document8 Filed 10/15/19 Page 1 of 1

 

Z FILED ____ LODGED
__. RECEWED ___ COPY

OCT 15 2019

CLERK U 8 DISTRICT COURT
DISTRICT OF ARIZONA

 

 

 

REDACTE ED FOR
PUBLIC DISCLOSHRE

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,
Plaintiff,

VS.

Jesse Don Moquino,

Defendant.

No.

 

 

 

THE GRAND JURY CHARGES:

On or about September 11, 2019, in the District of Arizona, within the confines of
the Salt River Pima-Maricopa Indian Community, the defendant, JESSE DON
MOQUINO, an Indian, willfully, deliberately, maliciously, and with premeditation and

malice aforethought, did unlawfully kill G.Z.

VIO:

CR-19-01199-PHX-SMB (DMF)

INDICTMENT

18 U.S.C. §§ 1153 and 1111
CIR-First Degree Murder)
ount |

In violation of Title 18, United States Code, Sections 1153 and 1111.

MICHAEL BAILEY
United States Attorney
District of Arizona

S/

A TRUE BILL

S/

 

FOREPERSON OF THE GRAND JURY
Date: October 15, 2019

 

ROBERT I. BROOKS
Assistant U.S. Attorney

 

 
